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NOT FOR PUBLICATION

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

 GUSTAVO MARTÍNEZ,

                    Plaintiff,
                                                             Civ. No. 20-8710
          v.
                                                             OPINION
 CITY OF ASBURY PARK et al.,

                    Defendants.

THOMPSON, U.S.D.J.

                                       INTRODUCTION

       This matter comes before the Court upon the Motion for Judgment on the Pleadings filed

by Defendant Borough of Belmar (“Belmar”) (ECF No. 27), the Motion to Partially Dismiss the

Amended Complaint filed by Defendant County of Monmouth (“Monmouth”) (ECF No. 33), the

Motion to Dismiss Defendant Belmar’s Counterclaim filed by Plaintiff Gustavo Martínez

(“Plaintiff”) (ECF No. 34), and the Motion to Partially Dismiss the Amended Complaint filed by

Defendants City of Asbury Park (“Asbury Park”) and Officers Dewitt Bacon, Amir Bercovicz,

Daniel Savastano, and William Whitley (collectively, the “Asbury Park Defendants”) (ECF No.

35). The Court has decided the Motions based on the written submissions of the parties and

without oral argument, pursuant to Local Civil Rule 78.1(b). For the reasons stated herein,

Defendant Belmar’s Motion for Judgment on the Pleadings (ECF No. 27) is denied, Defendant

Monmouth’s Motion to Partially Dismiss (ECF No. 33) is denied, Plaintiff’s Motion to Dismiss

Defendant Belmar’s Counterclaim (ECF No. 34) is moot, and the Asbury Park Defendants’

Motion to Partially Dismiss (ECF No. 35) is granted in part and denied in part.
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                                         BACKGROUND

I.     Factual Background

       This case arises out of the arrest of a journalist covering a Black Lives Matter protest. In

connection with protests of police misconduct following the death of George Floyd, an unarmed

Black man, the Mayor of Asbury Park and the Asbury Park Emergency Coordinator promulgated

a Proclamation of State of Emergency (the “Emergency Proclamation”) on June 1, 2020. (Am.

Compl. ¶ 22, ECF No. 16.) The Emergency Proclamation set a citywide 8:00 P.M. curfew, but

exempted credentialed members of the media from the curfew. (Id.)

       At all relevant times, Plaintiff was a multimedia journalist for the Asbury Park Press. (Id.

¶ 12.) Plaintiff was assigned to report on a Black Lives Matter protest in Asbury Park the night

of June 1, 2020. (Id. ¶ 22.) Before Plaintiff arrived at the protest, the Asbury Park Press

contacted local law enforcement to confirm they understood that reporters were exempt from the

curfew. (Id.)

       Plaintiff arrived at the protest around 7:00 P.M. with his press badges displayed around

his neck. (Id. ¶ 24.) One of Plaintiff’s press badges had been issued by the New Jersey State

Police through the New Jersey Police Press Credential Program; the other was from the Asbury

Park Press. (Id. ¶ 23.) Plaintiff wore a yellow bandana, reflective armbands, protective eyewear,

and a helmet. (Id.)

       Plaintiff recorded videos of the protest with his cell phone. (Id. ¶ 24.) Just before 10:00

P.M., police officers began ordering protestors to leave the area. (Id. ¶ 25.) Plaintiff witnessed

police officers “spraying an irritant and chasing people, cursing and yelling at them to leave the

area.” (Id. ¶ 27.) Plaintiff heard screaming nearby and turned to see officers “acting violently

toward two teenagers.” (Id. ¶ 28.) As officers “advanc[ed] toward [Plaintiff] to move him away
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from the incident with the teenagers[,] [h]e began retreating, walking backwards, while still

trying to film the altercation.” (Id.)

        Plaintiff heard a police officer swear at him and exclaim, “He’s the problem!” (Id. ¶¶ 4,

29.) Officer Whitley, an Asbury Park officer, allegedly tackled Plaintiff. (Id. ¶ 29.) Plaintiff’s

phone was “slapped out of [his] hand” and he was arrested. (Id.) While on the ground, Plaintiff

identified himself as a reporter. (Id.) Officer Savastano, another Asbury Park officer, “assisted

Officer Whitley in handcuffing [Plaintiff].” (Id.) Asbury Park Officers Bacon and Bercovicz

“observed the arrest, but did not intervene.” (Id.) Other officers “whose employers are . . .

unknown, but are suspected to be Asbury Park, Belmar, and/or the Monmouth County Sheriff’s

Office, were passing nearby, but failed to intervene.” (Id. ¶ 30.)

        Another officer brought Plaintiff to a van marked “Monmouth County Sheriff.” (Id. ¶ 33.)

A group of officers wearing jackets labeled “Sheriff” surrounded the van. (Id.) One of the

officers asked Plaintiff about his press badges. (Id.) Plaintiff identified himself as a reporter. (Id.)

A Monmouth County officer loaded Plaintiff into the van. (Id.)

        Monmouth County officers drove Plaintiff to the Belmar police station. (Id. ¶ 34.) While

processing Plaintiff, a Belmar police officer asked Plaintiff whether he was a reporter. (Id.)

Plaintiff confirmed that he was. (Id.) The officer took Plaintiff’s press badges, placed them with

the rest of Plaintiff’s belongings, and escorted Plaintiff to a cell. (Id.) While Plaintiff was in the

cell, another police officer asked him whether he was a reporter. (Id. ¶ 35.) He responded

affirmatively. (Id.)

        After midnight, an Asbury Park police officer arrived at the police station and brought

Plaintiff into a separate room. (Id. ¶ 36.) Plaintiff informed the officer that he was a reporter.

(Id.) The officer notified Plaintiff that he would be ticketed for disorderly conduct. (Id.)
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          Around 3:30 A.M., Plaintiff was released from the Belmar police station. (Id. ¶ 37.) He

was issued a summons and complaint. (Id.) Officer Bercovicz, the certifying officer, stated that

Plaintiff “fail[ed] to obey an order to disperse.” (Id.) Around 12:30 P.M. on June 2, 2020,

Plaintiff learned from an Asbury Park Press employee that the charges against him had been

dropped. (Id. ¶ 38.)

II.       Procedural History

          On September 8, 2020, Plaintiff filed the operative Amended Complaint. (ECF No. 16.)

In addition to the named Defendants, Plaintiff sues John Doe Defendants, characterized as

“individual law enforcement officers employed by one or more of [Defendants Asbury Park,

Monmouth, and Belmar] or other law enforcement agencies who were involved in [Plaintiff’s]

arrest and detention.” (Am. Compl. ¶ 20.) Plaintiff alleges six counts:

      •   (1) violations of the First Amendment to the U.S. Constitution and Article I, Paragraphs 6

          and 18 of the New Jersey Constitution, based on alleged infringements of free speech,

          free press, and the right to record, against Officer Savastano, Officer Whitley, and the

          John Doe Defendants (Am. Compl. ¶¶ 55–62);

      •   (2) violations of the First Amendment to the U.S. Constitution and Article I, Paragraphs 6

          and 18 of the New Jersey Constitution, based on alleged retaliation, against Officer

          Savastano, Officer Whitley, and the John Doe Defendants (Am. Compl. ¶¶ 63–68);

      •   (3) violations of the Fourth Amendment to the U.S. Constitution and Article I, Paragraph

          7 of the New Jersey Constitution, based on unlawful arrest and false imprisonment,

          against Officer Savastano, Officer Whitley, and the John Doe Defendants (Am. Compl.

          ¶¶ 69–73);

      •   (4) violations of the Fourth Amendment to the U.S. Constitution and Article I, Paragraph
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       7 of the New Jersey Constitution, based on excessive force, against Officer Savastano

       and Officer Whitley (Am. Compl. ¶¶ 74–78);

   •   (5) failure to intervene against Officer Bercovicz, Officer Bacon, and the John Doe

       Defendants (id. ¶¶ 79–82); and

   •   (6) failure to train and failure to supervise against Defendants Asbury Park, Monmouth,

       and Belmar (the “Municipality Defendants”) (id. ¶¶ 83–96).

Plaintiff brings his claims under 42 U.S.C. § 1983 and the New Jersey Civil Rights Act

(“NJCRA”), N.J. Stat. Ann. § 10:6-2. (Am. Compl. at 23, 25–26, 28–30.)

       Plaintiff also submits two video recordings: (i) Plaintiff’s video footage of the events

leading up to his arrest, (see Pl.’s Ex. B, ECF No. 16-2), and (ii) video footage from the body-

worn camera of one of the officers involved in Plaintiff’s arrest, (see Pl.’s Ex. E, ECF No. 16-5).

Neither video appears to identify individual officers clearly.

       Plaintiff seeks declaratory relief, compensatory and punitive damages, and attorneys’ fees

and costs. (Am. Compl. at 33–34.) He also seeks an injunction preventing Defendants “from

restricting or prohibiting [Plaintiff] or any other persons from engaging in protected free speech

or free press activity, including but not limited to recording police activity in public spaces in

Asbury Park, except when such activities are prohibited by valid law or local ordinance.” (Id. at

33.)

       Alongside its Answer, Defendant Belmar filed a Counterclaim against Plaintiff. (ECF No.

20.) Defendant Belmar filed a Motion for Judgment on the Pleadings. (ECF No. 27.) Defendant

Monmouth filed a Motion to Partially Dismiss the Amended Complaint. (ECF No. 33.) The

Asbury Park Defendants also filed a Motion to Partially Dismiss the Amended Complaint. (ECF

No. 35.)
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       Plaintiff filed a Motion to Dismiss Defendant Belmar’s Counterclaim. (ECF No. 34.)

Defendant Belmar advised the Court that it does not oppose Plaintiff’s Motion to Dismiss. (ECF

No. 36.) Defendant Belmar’s Amended Answer does not include counterclaims against Plaintiff.

(See generally Def. Belmar’s Am. Answer, ECF No. 40.)

       Plaintiff opposed Defendant Belmar’s Motion for Judgment on the Pleadings, Defendant

Monmouth’s Motion to Partially Dismiss, and the Asbury Park Defendants’ Motion to Partially

Dismiss. (ECF No. 42.) The moving Defendants filed Replies. (ECF Nos. 46, 47, 48.) The

Motion for Judgment on the Pleadings, Motion to Dismiss the Counterclaim, and Motions to

Partially Dismiss the Amended Complaint are presently before the Court.

                                      LEGAL STANDARDS

 I.    Motion to Dismiss

       To survive dismissal under Rule 12(b)(6) of the Federal Rules of Civil Procedure, “a

complaint must contain sufficient factual matter, accepted as true, to state a claim to relief that is

plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks

omitted). “The defendant bears the burden of showing that no claim has been presented.” Hedges

v. United States, 404 F.3d 744, 750 (3d Cir. 2005). When considering a Rule 12(b)(6) motion, a

district court conducts a three-part analysis. Malleus v. George, 641 F.3d 560, 563 (3d Cir.

2011). “First, the court must ‘tak[e] note of the elements a plaintiff must plead to state a claim.’”

Id. (quoting Iqbal, 556 U.S. at 675). “Second, the court should identify allegations that, ‘because

they are no more than conclusions, are not entitled to the assumption of truth.’” Id. (quoting

Iqbal, 556 U.S. at 679). “Third, ‘whe[n] there are well-pleaded factual allegations, a court should

assume their veracity and then determine whether they plausibly give rise to an entitlement [to]

relief.’” Id. (quoting Iqbal, 556 U.S. at 679). A complaint that does not demonstrate more than a
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“mere possibility of misconduct” must be dismissed. Gelman v. State Farm Mut. Auto. Ins. Co.,

583 F.3d 187, 190 (3d Cir. 2009) (quoting Iqbal, 556 U.S. at 679).

II.    Motion for Judgment on the Pleadings

       “A motion for judgment on the pleadings based on the defense that the plaintiff has failed

to state a claim is analyzed under the same standards that apply to a Rule 12(b)(6) motion.”

Zimmerman v. Corbett, 873 F.3d 414, 417 (3d Cir. 2017). “Judgment will not be granted unless

the movant ‘clearly establishes there are no material issues of fact, and he is entitled to judgment

as a matter of law.’” Bedoya v. Am. Eagle Express Inc., 914 F.3d 812, 816 n.2 (3d Cir. 2019)

(quoting Sikirica v. Nationwide Ins. Co., 416 F.3d 214, 220 (3d Cir. 2005)).

                                           DISCUSSION

I.     Injunctive Relief

       As a preliminary matter, the Asbury Park Defendants submit that Plaintiff does not have

standing to seek injunctive relief. (Asbury Park Defs.’ Br. at 7–10, ECF No. 35-1.) Prospective

injunctive relief “is unavailable absent a showing of irreparable injury, a requirement that cannot

be met where there is no showing of any real or immediate threat that the plaintiff will be

wronged again.” City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983). Plaintiff’s employment

as a journalist at the Asbury Park Press, in addition to his failure-to-train and failure-to-supervise

claims against the Municipality Defendants, see infra Section III, suggest that similar future

harms against Plaintiff are at least plausible. Without the benefit of discovery on this issue,

dismissing Plaintiff’s request for injunctive relief at this point would be premature.

II.    Officer Defendants

       Apart from their argument that Plaintiff cannot seek injunctive relief, the Asbury Park

Defendants do not seek to dismiss Counts 1–3. Nor do they seek to dismiss Count 4 as to Officer
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Whitley. The Court proceeds to evaluate the excessive force claim against Officer Savastano and

the failure-to-intervene claim against Officers Bercovicz and Bacon.

       A.      Officer Savastano

       Plaintiff has not stated a claim that Officer Savastano used excessive force in violation of

the Fourth Amendment. The Court’s focus is on the alleged excessive force, not on Plaintiff’s

distinct claims of unlawful arrest and false imprisonment. See County of Los Angeles v. Mendez,

137 S. Ct. 1539, 1547 (2017) (“The framework for analyzing excessive force claims is set out in

Graham [v. Connor, 490 U.S. 386 (1989)]. If there is no excessive force claim under Graham,

there is no excessive force claim at all. To the extent that a plaintiff has other Fourth Amendment

claims, they should be analyzed separately.”). Excessive force claims are “analyzed under the

Fourth Amendment and its ‘reasonableness’ standard.” Graham, 490 U.S. at 395. “The

‘reasonableness’ inquiry in an excessive force case is an objective one: the question is whether

the officers’ actions are ‘objectively reasonable’ in light of the facts and circumstances

confronting them, without regard to their underlying intent or motivation.” Id. at 397.

       Plaintiff alleges that Officer Savastano “assisted Defendant Whitley in handcuffing

[Plaintiff]” while “[t]he John Doe Defendants and [Officers] Savastano and Whitley held

[Plaintiff] down on the ground.” (Am. Compl. ¶¶ 29, 76.) It is unclear what Plaintiff means by

“assisted” in handcuffing. But assuming that Officer Savastano handcuffed Plaintiff, there is no

indication that he did so in an unreasonable manner. See Gilles v. Davis, 427 F.3d 197, 208 (3d

Cir. 2005) (concluding that the plaintiff did not demonstrate excessive force where the plaintiff

complained about the tightness of his handcuffs, but showed no signs of discomfort and did not

seek medical treatment after the fact); cf. Kopec v. Tate, 361 F.3d 772, 777 (3d Cir. 2004)

(concluding that the plaintiff stated a claim of excessive force where the officer allegedly placed
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excessively tight handcuffs on the plaintiff, the officer did not respond to requests to loosen the

handcuffs, the handcuffs caused the plaintiff severe pain, and the plaintiff suffered permanent

nerve damage to his wrist). Therefore, Plaintiff’s Fourth Amendment excessive force claim

against Officer Savastano is dismissed.

       Plaintiff’s excessive force claim against Officer Savastano under Article I, Paragraph 7 of

the New Jersey Constitution is also dismissed. The parties have not briefed the Court on whether

Article I, Paragraph 7 of the New Jersey Constitution is coextensive with the Fourth Amendment

with respect to excessive force. The Court, however, sees no reason to apply two different

standards. See State v. Ravotto, 777 A.2d 301, 316 (N.J. 2001) (finding unreasonable force under

Article I, Paragraph 7 of the New Jersey Constitution “for the reasons previously expressed” in

the court’s analysis of unreasonable force under the Fourth Amendment); Norcross v. Town of

Hammonton, 2008 WL 9027248, at *4–5 (D.N.J. Feb. 5, 2008) (applying the Fourth

Amendment’s objective reasonableness standard to the plaintiff’s excessive force claim under

the New Jersey Constitution).

       B.      Officers Bercovicz and Bacon

       Plaintiff provides an adequate factual basis for his failure-to-intervene claim against

Officers Bercovicz and Bacon. “‘[A] police officer has a duty to take reasonable steps to protect

a victim from another officer’s use of excessive force,’ but only ‘if there is a realistic and

reasonable opportunity to intervene.’” El v. City of Pittsburgh, 975 F.3d 327, 335 (3d Cir. 2020)

(quoting Smith v. Mensinger, 293 F.3d 641, 650–51 (3d Cir. 2002)). Plaintiff avers that Officers

Bercovicz and Bacon “observed the arrest, but did not intervene.” (Am. Compl. ¶ 29.) Discovery

will further inform the extent and nature of their opportunity to intervene. It will also test the

viability of Plaintiff’s underlying constitutional claims against the other officers. At this juncture,
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 however, Plaintiff’s failure-to-intervene claim is sufficiently pleaded.

 III.    Municipality Defendants

         “A municipality cannot be held liable for the unconstitutional acts of its employees on a

 theory of respondeat superior.” Thomas v. Cumberland County, 749 F.3d 217, 222 (3d Cir.

 2014) (citing Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 691 (1978)). “[A] § 1983 claim

 against a municipality may proceed in two ways. A plaintiff may put forth that an

 unconstitutional policy or custom of the municipality led to his or her injuries, or that they were

 caused by a failure or inadequacy by the municipality that reflects a deliberate or conscious

 choice.” Forrest v. Parry, 930 F.3d 93, 105 (3d Cir. 2019) (citations and internal quotation

 marks omitted). 1 This case proceeds in the second way: Plaintiff claims that the Municipality

 Defendants failed to train and supervise their employees. (Am. Compl. ¶¶ 83–96.)

         Municipal liability for failure to train or supervise under § 1983 “requires a showing that

 the failure amounts to ‘deliberate indifference’ to the rights of persons with whom those

 employees will come into contact.” Carter v. City of Philadelphia, 181 F.3d 339, 357 (3d Cir.

 1999) (quoting City of Canton v. Harris, 489 U.S. 378, 388 (1989)). 2 “A plaintiff sufficiently

 pleads deliberate indifference by showing that ‘(1) municipal policymakers know that employees

 will confront a particular situation[,] (2) the situation involves a difficult choice or a history of

 employees mishandling[,] and (3) the wrong choice by an employee will frequently cause

 deprivation of constitutional rights.’” Est. of Roman v. City of Newark, 914 F.3d 789, 798 (3d



 1
   “This district has repeatedly interpreted NJCRA analogously to § 1983.” Trafton v. City of
 Woodbury, 799 F. Supp. 2d 417, 443 (D.N.J. 2011).
 2
   Courts consider failure-to-train and failure-to-supervise claims “together because they fall
 under the same species of municipal liability.” Est. of Roman v. City of Newark, 914 F.3d 789,
 799 n.7 (3d Cir. 2019).
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 Cir. 2019) (quoting Doe v. Luzerne County, 660 F.3d 169, 180 (3d Cir. 2011)).

         “A pattern of similar constitutional violations by untrained employees is ‘ordinarily

 necessary’ to demonstrate deliberate indifference for purposes of failure to train.” Connick v.

 Thompson, 563 U.S. 51, 62 (2011) (quoting Bd. of Comm’rs of Bryan Cnty. v. Brown, 520 U.S.

 397, 409 (1997)). “Nevertheless, . . . in certain situations, the need for training ‘can be said to be

 “so obvious,” that failure to do so could properly be characterized as “deliberate indifference” to

 constitutional rights’ even without a pattern of constitutional violations.” Thomas, 749 F.3d at

 223 (quoting Harris, 489 U.S. at 390 n.10). “Single-incident” liability arises “in a narrow range

 of circumstances.” Connick, 563 U.S. at 63 (quoting Bryan Cnty., 520 U.S. at 409). “Liability in

 single-incident cases depends on ‘[t]he likelihood that the situation will recur and the

 predictability that an officer lacking specific tools to handle that situation will violate citizens’

 rights.’” Thomas, 749 F.3d at 223–24 (quoting Bryan Cnty., 520 U.S. at 409).

         A plaintiff must separately demonstrate causation to sustain a failure-to-train claim. Id. at

 222. To satisfy the causation requirement, “the identified deficiency in [the] training program

 must be closely related to the ultimate injury.” Harris, 489 U.S. at 391.

         Plaintiff has not alleged a pattern of similar constitutional violations by employees of the

 Municipality Defendants. Rather, Plaintiff’s allegations are based on a single incident: his arrest

 and detention by the Municipality Defendants’ officers on June 1–2, 2020. (See Opp’n at 10–11,

 ECF No. 42.)

         At this stage of the case, Plaintiff adequately states a failure-to-train and failure-to-

 supervise claim against the Municipality Defendants. First, Plaintiff has averred facts plausibly

 suggesting the Municipality Defendants knew that their officers would “confront a particular

 situation”—namely, journalists or reporters covering a protest. See Roman, 914 F.3d at 798. The
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 New Jersey Police Press Credential Program in which Plaintiff participated “ensures that law

 enforcement in New Jersey can identify journalists and tailor their interactions with them.” (Am.

 Compl. ¶ 93.) Other journalists were ostensibly unlawfully arrested at protests around the

 country in summer 2020. (See id. ¶ 1.) Asbury Park’s Emergency Proclamation exempted

 “credentialed members of the media” from its curfew. (Id. ¶ 22.) And the Asbury Park Press

 purportedly contacted local law enforcement to confirm that they were aware of the exemption.

 (Id.)

          Second, the particular situation plausibly involves a difficult task—namely, how to

 identify and interact with reporters during and after a protest. See Roman, 914 F.3d at 798. A

 “difficult choice” can arise where “more than the application of common sense is required.” See

 Walker v. City of New York, 974 F.2d 293, 297 (2d Cir. 1992). Police officers must honor their

 duty to ensure public safety. At the same time, officers must honor the public’s right to record

 police activity under the First Amendment. Officers must also heed exemptions to general rules,

 including curfew exemptions for members of the press. The existence of the New Jersey Police

 Press Credential Program suggests that fulfilling those obligations calls for more than common

 sense.

          Third, it is plausible that failures to navigate interactions with reporters properly could

 “frequently cause deprivation of constitutional rights.” See Roman, 914 F.3d at 798. At least

 where recording does not interfere with police activity, “under the First Amendment’s right of

 access to information the public has the commensurate right to record—photograph, film, or

 audio record—police officers conducting official police activity in public areas.” Fields v. City of

 Philadelphia, 862 F.3d 353, 360 (3d Cir. 2017). A warrantless arrest not based on probable cause

 violates the Fourth Amendment to the U.S. Constitution. District of Columbia v. Wesby, 138 S.
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 Ct. 577, 585–86 (2018) (citing Atwater v. City of Lago Vista, 532 U.S. 318, 354 (2001)). And

 excessive force during an arrest violates the Fourth Amendment. See Graham, 490 U.S. at 395.

         Plaintiff need not provide details about the Municipality Defendants’ specific training

 programs or protocols at this stage of the case. See Carter, 181 F.3d at 358 (explaining that the

 plaintiff “cannot be expected to know, without discovery, exactly what training policies were in

 place or how they were adopted”). Under the Third Circuit’s three-pronged test for deliberate

 indifference, the allegations in the Complaint are sufficient at the motion-to-dismiss stage to state

 a failure-to-train and failure-to-supervise claim against the Municipality Defendants.

 IV.     Defendant Belmar’s Counterclaim

         Defendant Belmar does not bring counterclaims against Plaintiff alongside its Amended

 Answer. (See generally Def. Belmar’s Am. Answer.) Therefore, Plaintiff’s Motion to Dismiss

 Defendant Belmar’s Counterclaim (ECF No. 34) is moot.

 V.      Leave to Amend

         Rule 15(a)(2) of the Federal Rules of Civil Procedure allows amendment of the pleadings

 with the court’s leave, which should be given freely “when justice so requires.” Fed. R. Civ. P.

 15(a)(2). “[Third Circuit] precedent supports the notion that in civil rights cases district courts

 must offer amendment—irrespective of whether it is requested—when dismissing a case for

 failure to state a claim unless doing so would be inequitable or futile.” Fletcher-Harlee Corp. v.

 Pote Concrete Contractors, Inc., 482 F.3d 247, 251 (3d Cir. 2007). The Court grants Plaintiff

 leave to amend the Amended Complaint to cure the pleading deficiencies identified in this

 Opinion. If Plaintiff wishes to do so, he may amend the Amended Complaint within fourteen

 days.



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                                       CONCLUSION

        For the foregoing reasons, Defendant Belmar’s Motion for Judgment on the Pleadings

 (ECF No. 27) is denied, Defendant Monmouth’s Motion to Partially Dismiss the Amended

 Complaint (ECF No. 33) is denied, Plaintiff’s Motion to Dismiss Defendant Belmar’s

 Counterclaim (ECF No. 34) is moot, and the Asbury Park Defendants’ Motion to Partially

 Dismiss the Amended Complaint (ECF No. 35) is granted in part and denied in part. An

 appropriate Order will follow.



 Date: March 5, 2021                                      /s/ Anne E. Thompson
                                                          ANNE E. THOMPSON, U.S.D.J.




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